                                     Case 1:05-cv-00043 Document 88 Filed 11/03/08 Page 1 of 2
U.S. Department of Justice                                                                                                        PROCESS RECEIPT AND RETURN
United States Marshals Service                                                                                                    See "Instructions for Service of Process bv U.S. Marshal"

PLAINTIFF                                                                                                                                                                                    COURT CASE NUMBER
ANTONIO S. CAMACHO                                                                                                                                                                         CA 05-0043 USDC NMI
DEFENDANT                                                                                                                                                                                    TYPE OF PROCESS
CNMI DEPT OF PUBLIC LANDS & CNMI DEPT OF PUBLIC WORKS                                                                                                                                       WRIT OF EXECUTION




SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                                                                                                    Number of process to be
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                    L R .Gregory J. Koebel ESQ.                                                                                                                                                               J '
                                                                                                                                                                                      Number of parties to be                                         (DwY-w
                      O'CONNOR BERMAN DOTTS & BANES                                                                                                                                   served in this case          5
                      PO BOX 501969 SAIPAN MP 96950 / www.pacific-1awyers.com
                      67 1-234-5684 / 670-234-c%@3 (FAX) I attorneys@saipan.com                                                                                                       Check for service

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Signature of Attorney other Originator requesti                                                                                         PLAINTIFF                            TELEPHONE NUMBER                                                   DATE

                                                                                                                                  0DEFENDANT                                 670-234-5684                                                        10/27/08
     SPACE BELOW FOR USE OF U.9! MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the total                     Total Process Distnct of                                 Distnct to
number of process indicated                                           Origin                                     Serve
(Sign onlyfor (ISM 285 fmore
than one USM285 is submitted)                              m'                          005
                                                                                    No __                           NMI
                                                                                                                 No ___




 0 1 hereby certify and return that 1 am unable to locate the individual, company, corporation, etc. named above (See remarks below)
Name and title of individual served ($not shown above)                                                              0 A person of suitableage and discretion
                                                                                                                                                                                                             then residing in defendant's usual place
                                                                                                                                                                                                             of abode
Address (complete on& dferent than shown above)                                                                                                                                                I Date                                    1   Time
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Note: Escort Mr. Gregory Kobe1 to                                                 of Guam to assist in the seizure of $262,934.05                                                                      10131/08                                                           [idpm
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                                                                                                                                                                                                                        -&
from the Bank of Guam Account # ?-%                                                                       under the account name
of CNMI Department of Public Lands.                                               @OQ                            8k!!#@S8ss                                                                        SignatureofU S M
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                                          Charges Forwarding Fee                                         Total Charges                       Advance Deposits                         \1nouti1         O \ \ L C ! IO   6     l    d    h
                            including endeavors)                                                                                                                                  (   \lllOlilI1 01 l < i ~ l l l l d

             $45.00                  $5.00
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                                                                                                     I             $50.00                I          $50.00
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REMARKS
$45.00 Service & $5.00 mileage Fee's in advance; Adjustments for additional billing or refunds upon completion of service.


                                 I Cl.t.RK OF'I'HE COIJRT                                                                                                                                                                                                             BE USED
                                 2 IJSMS RECORD
                                 3 NOTICE OF SERVICE
                                 4 BILLING STATEMENT* To be returned to the U S Marshal with payment,
                                                                                                                                                                                       RE
                                   if anv amount is owed Please remit promptly payable to U S Marshal
                                 5 ACKNOWLEDGMENT OF RECEIPT                                                                                                                                                 O C T 3 1 2008                                         FomUSM-285
                                                                                                                                                                                                                                                                       Rev 12/80


                                                                                                                                                                             US MARSHALS SERVICE-CNMI
                               Case 1:05-cv-00043 Document 88 Filed 11/03/08 Page 2 of 2



                                                                                       Td: (67 I) 472-5100
             WUMR Of TUf
F E D f M C OEWSIT INSURANCE COW




     October 3 1,2008


     U.S.District Court
     For the Northern Mariana Islands
     2& Floor Horiguchi Building
     Beach Road,Garapan
     P.O.Box 500687
     Saipan, MP 96950

                                                                    -
     Ref: Writ of Execution CMM Department of Public Lands CA No,05-0043

     Dear Sir or Madam:

     Enclosed you will find Cashier's Check No.805833 dated October 31,2008 in the amount
     of $262,934.05for remittance on a Notice of Writ of Execution received on October 28,
     2008 referenced above.

      Should you have any questions, please contact me directly at (670) 236-2700, extension
      3200 or Mr.Danny M. Rapadas, SVP/General Counsel, ChiefRisk Ofiicer at (671) 472-
      5256.

      Sincerely,




      Vice President/cNMI R;gional      Manager
      Encls: CCC805833

      Cc: Mr.Danny M Rapbs, S W / h d C m l & Chief Risk mCa
          File
